Case 8:24-cv-01341-KKM-LSG              Document 1          Filed 06/03/24         Page 1 of 22 PageID 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA

                                        Case No. 8:24-cv-01341

 ALEX EVERS,

         Plaintiff,

 v.

 THE SPORTS MALL, LLC d/b/a
 SPORTSCOLLECTIBLES.COM and DAVIS
 & DARNELL COMPUTER SERVICES LLC
 d/b/a NITTANY WEB WORKS,

         Defendants.


                                             COMPLAINT

       Plaintiff Alex Evers (“Plaintiff”) sues defendants The Sports Mall, LLC d/b/a

SportsCollectibles.com (“Sports Mall”) and Davis & Darnell Computer Services LLC d/b/a

Nittany Web Works (“Nittany Web”) (collectively, the “Defendants”), and alleges as follows:

                                            THE PARTIES

       1.       Plaintiff is an individual who is a citizen of the State of California residing in the

State of California.

       2.       Sports Mall is a limited liability company organized and existing under the laws of

the State of Florida with its principal place of business located at 4710 Eisenhower Blvd S., Suite

A-1, Tampa, FL 33634. Sports Mall’s agent for service of process is Synergy Ventures, Inc., 4710

Eisenhower Blvd S. Suite A-1, Tampa, FL 33634.

       3.       Nittany Web is a limited liability company organized and existing under the laws

of the State of Florida with its principal place of business located at 301 Union Avenue, Suite 355,

Altoona, PA 16602. Nittany Web’s agent for service of process is Registered Agents Inc, 7901 4th


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Case 8:24-cv-01341-KKM-LSG               Document 1          Filed 06/03/24         Page 2 of 22 PageID 2




Street N, Suite 300, St. Petersburg, FL 33702.

                                   JURISDICTION AND VENUE

          4.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

          5.      This Court has personal jurisdiction over Defendants because they have

maintained sufficient minimum contacts with Florida such that the exercise of personal jurisdiction

over them would not offend traditional notices of fair play and substantial justice.

          6.     Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

Defendants or their agents reside or may be found in this district. “A defendant ‘may be found’ in

a district in which he could be served with process; that is, in a district which may assert personal

jurisdiction over the defendant.” Palmer v. Braun, 376 F.3d 1254, 1259-60 (11th Cir. 2004). “In

other words, ‘if a court has personal jurisdiction over the defendants in a copyright infringement

action, venue in that court’s district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-

CIV-ZLOCH, 2016 U.S. Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store

Decor Div. of Jas Int'l, Inc. v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill.

1991)).

                                                  FACTS

I.         Plaintiff’s Business

           1.    Known for his Eclipse Award-winning photography, Plaintiff has become a

 familiar name for those in horse racing.

          2.     Plaintiff began photography as a hobby when he was 21 years old but has loved

horse racing from a very early age. His hobby quickly became his profession and today he is a

renowned horse racing photographer as well as an accomplished sports and corporate


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Case 8:24-cv-01341-KKM-LSG             Document 1          Filed 06/03/24         Page 3 of 22 PageID 3




photographer. Plaintiff has created tens of thousands of images of intense racing moments, trainers,

jockeys, horses and fans, covering major races around the world such as the Breeder’s Cup,

Kentucky Derby, Churchill Downs, The Belmont Stakes, The Longines International Races, and

many more.

       3.      Plaintiff’s main goal in creating an image is to take something already seen before

and show it in a tight and different perspective. He is devoted to making beautiful, storytelling

images and his photography does indeed show the excitement, tension, beauty, and grittiness of

the equestrian racing world.

II.     The Work at Issue in this Lawsuit

       A. The First Photograph

       4.      On May 2, 2015, Plaintiff took a professional photograph of American Pharaoh

with jockey Victor Espinoza defeating Firing Line and Gary Stevens to win the Kentucky Derby

at Churchill Downs Louisville, KY titled “15-0502-American_Pharaoh_Firing_line_01_evers”

(the “First Photograph”). A copy of the First Photograph is displayed below:




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Case 8:24-cv-01341-KKM-LSG               Document 1          Filed 06/03/24         Page 4 of 22 PageID 4




       5.         The First Photograph was registered by Plaintiff with the Register of Copyrights on

July 4, 2015 and was assigned Registration No. VA 1-974-868. A true and correct copy of the

Certificate of Registration pertaining to the Work is attached hereto as Exhibit “A.”

       6.         Plaintiff is the owner of the First Photograph and has remained the owner at all

times material hereto.

             B.     The Second Photograph

        7.        On June 9, 2018, Plaintiff took a professional photograph of Justify #1 with Mike

 Smith becoming the 13 Triple Crown champion after winning the 150 Belmont Stakes in Elmont,

 New York titled “18-0609-justify-113-Evers” (the “Second Photograph”). A copy of the Second

 Photograph is displayed below:




        8.        The Second Photograph was registered by Plaintiff with the Register of Copyrights

 on July 2, 2018 and was assigned Registration No. VA 2-109-184. A true and correct copy of the

 Certificate of Registration pertaining to the Work is attached hereto as Exhibit “B.”

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        9.     Plaintiff is the owner of the Second Photograph and has remained the owner at all

 times material hereto.

       C. The Third Photograph

       10.     On January 28, 2017, Plaintiff took a professional photograph of Arrogate #1,

ridden by jockey Mike Smith, winning the Pegasus World Cup Invitational at Gulfstream Park

Course in Hallandale Beach, FL titled “17-0128-Arrogate_002-Evers.jpg” (the “Third

Photograph”). A copy of the Third Photograph is displayed below:




       11.     The Third Photograph was registered by Plaintiff with the Register of Copyrights

on June 22, 2017 and was assigned Registration No. VA 2-056-091. A true and correct copy of the

Certificate of Registration pertaining to the Work is attached hereto as Exhibit “C.”

       12.     Plaintiff is the owner of the Third Photograph and has remained the owner at all

times material hereto.




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Case 8:24-cv-01341-KKM-LSG            Document 1          Filed 06/03/24         Page 6 of 22 PageID 6




       D. The Fourth Photograph

        13.   On August 20, 2016, Plaintiff took a professional photograph of California Chrome

 #1, ridden by jockey Victor Espinoza, winning the TVG Pacific Classic Stakes at Del Mar in Del

 Mar, California titled “EVS_160820-californiachrome_001.jpg” (the “Fourth Photograph”). A

 copy of the Fourth Photograph is displayed below:




        14.   The Fourth Photograph was registered by Plaintiff with the Register of Copyrights

 on September 8, 2016 and was assigned Registration No. VA 2-016-363. A true and correct copy

 of the Certificate of Registration pertaining to the Work is attached hereto as Exhibit “D.”

        15.   Plaintiff is the owner of the Fourth Photograph and has remained the owner at all

 times material hereto.

        16.   The First Photograph, Second Photograph, Third Photograph and Fourth

 Photograph are collectively referred to herein as the “Work.”


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Case 8:24-cv-01341-KKM-LSG             Document 1          Filed 06/03/24         Page 7 of 22 PageID 7




III.    Defendants’ Unlawful Activities

        17.    Sports Mall operates an online store that purportedly sells authentic sports

 memorabilia and sport collectibles. Its website offers over 35,000 items from almost every

 professional and college-level sport teams and athletes.

        18.    Although Sports Mall ‘offers’ tens of thousands of items for sale on its website, it

 owns and/or is in possession of only a small percentage of such items.

        19.    This is because Sports Mall’s business model primarily involves utilizing a

 computer algorithm purposely designed to scour sites such as www.ebay.com, identify listings

 for sports memorabilia, copy the text and photographs associated with such listing, and then list

 the same item for sale on Sports Mall’s website at a substantial markup.

        20.    The computer algorithm utilized by Sports Mall is directed/controlled by Nittany

 Web, a marketing company whose “mission is to provide high-quality professional website

 design, lead-generating Internet marketing services, a reliable website hosting platform, and our

 advanced Ecommerce Platform.”

        21.    Sports Mall and Nittany Web maintain a contractual relationship whereby Sports

 Mall instructs Nittany Web with respect to specific protocols/criteria to search/copy from sites

 such as www.ebay.com and Nittany Web utilizes its algorithm to find/copy those listings that

 match Sports Mall’s criteria. Nittany Web then utilizes its algorithm to create a largely identical

 listing for the same item for sale on Sports Mall’s website.

        22.    Defendants do not seek permission from the owners of the scoured items that Sports

 Mall lists for sale on its website and do not maintain a contractual relationship with any such

 persons – Defendants simply copy the listings and hope that a consumer will purchase from

 Sports Mall (at a substantial markup) rather than the person actually in possession of the item.


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Case 8:24-cv-01341-KKM-LSG               Document 1          Filed 06/03/24         Page 8 of 22 PageID 8




        23.    If a consumer is unfortunate enough to purchase the item for sale from Sports Mall

 (rather than the owner who is actually in possession of the item), Sports Mall will at that point

 purchase the item from the original seller and cause such to be shipped to its customer’s address

 (thus ensuring that Sports Mall was never in possession of the item at issue).

        24.    Sports        Mall    advertises/markets         its   business     through     its   website

 (https://www.sportscollectibles.com),                      social                 media               (e.g.,

 https://www.facebook.com/SportsCollectiblesStore/), and other forms of advertising.

        25.    Nittany       Web     advertises/markets         its   business      through    its   website

 (https://www.nittanyweb.com/),                        social                    media                 (e.g.,

 https://www.facebook.com/NittanyWebWorks/), and other forms of advertising.

        26.    On a date after Plaintiff’s above-referenced copyright registration of the First

 Photograph, Defendants displayed and/or published the First Photograph (or a derivative copy

 thereof)               on               Sports                 Mall’s               website             (at

 https://www.sportscollectibles.com/mike_smith_autographed_signed_victor_espinoza_triple_cr

 own_winners_custom_16x20_jsa_coa_c_p12738429.htm) in connection with a “Mike Smith

 Autographed Signed & Victor Espinoza Triple Crown Winners Custom 16x20 JSA COA” that

 Sports Mall was attempting to sell for $472.95:




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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 9 of 22 PageID 9




        27.   On a date after Plaintiff’s above-referenced copyright registration of the First

 Photograph, Defendants also displayed and/or published the First Photograph (or a derivative

 copy          thereof)           on            Sports             Mall’s             website     (at

 https://www.sportscollectibles.com/victor_espinoza_autographed_signed_american_pharoah_2

 015_triple_crown_custom_16x20_jsa_coa_c_p12729122.htm) in connection with a “Victor

 Espinoza Autographed Signed American Pharoah 2015 Triple Crown Custom 16x20 JSA COA”

 that Sports Mall was attempting to sell for $343.95:




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Case 8:24-cv-01341-KKM-LSG            Document 1          Filed 06/03/24        Page 10 of 22 PageID 10




         28.   On a date after Plaintiff’s above-referenced copyright registration of the First

  Photograph, Defendants also displayed and/or published the First Photograph (or a derivative

  copy          thereof)           on            Sports             Mall’s             website    (at

  https://www.sportscollectibles.com/victor_espinoza_autographed_signed_american_pharoah_tr

  iple_crown_custom_16x20_jsa_coa_c_p28507667.htm) in connection with a “Victor Espinoza

  Autographed Signed American Pharoah Triple Crown Custom 16X20 JSA COA” that Sports

  Mall was attempting to sell for $394.19:




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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 11 of 22 PageID 11




         29.    In each of the above instances of Defendants’ display and/or publication of the First

  Photograph, the image being displayed on Sports Mall’s website was uploaded to and stored

  directly on Nittany Web’s website/server (i.e., at https://images.nittanyweb.com/).

         30.    In each of the above instances of Defendants’ display and/or publication of the First

  Photograph, Defendants did not own the memorabilia being offered for sale, were not in

  possession of the memorabilia being offered for sale, and did not have permission from the owner

  of the memorabilia being offered for sale to list such for sale on Sports Mall’s website.

         31.    On a date after Plaintiff’s above-referenced copyright registration of the Second

  Photograph, Defendant displayed and/or published the Second Photograph on Sports Mall’s

  website                                                                                          (at

  https://www.sportscollectibles.com/mike_smith_autographed_signed_jockey_8x10_photo_bel

  mont_stakes_2018_justify_beckett_c_p12696305.htm) in connection with a “Mike Smith

  Autographed Signed Jockey 8x10 Photo Belmont Stakes 2018-Justify Beckett” that Sports Mall

  was attempting to sell for $83.95:


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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 12 of 22 PageID 12




         32.    In the above instance of Defendants’ display and/or publication of the Second

  Photograph, the image being displayed on Sports Mall’s website was uploaded to and stored

  directly on Nittany Web’s website/server (i.e., at https://images.nittanyweb.com/).

         33.    In the above instance of Defendants’ display and/or publication of the Second

  Photograph, Defendants did not own the memorabilia being offered for sale, were not in

  possession of the memorabilia being offered for sale, and did not have permission from the owner

  of the memorabilia being offered for sale to list such for sale on Sports Mall’s website.

         34.    On a date after Plaintiff’s above-referenced copyright registration of the Third

  Photograph, Defendants displayed and/or published a giclée derivative copy of the Third

  Photograph              on              Sports                Mall’s                  website    (at

  https://www.sportscollectibles.com/mike_smith_autographed_signed_arrogate_canvas_giclee_

  horse_racing_psa_dna_breeders_cup_hof_c_p20490541.htm) in connection with a “Mike Smith

  Autographed Signed Arrogate Canvas Giclee Horse Racing PSA/DNA Breeders Cup HOF” that

  Sports Mall was attempting to sell for $1,159.99:


                                                     12
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Case 8:24-cv-01341-KKM-LSG            Document 1         Filed 06/03/24         Page 13 of 22 PageID 13




         35.   On a date after Plaintiff’s above-referenced copyright registration of the Third

  Photograph, Defendants also displayed and/or published a giclée derivative copy of the Third

  Photograph             on              Sports                Mall’s                  website    (at

  https://www.sportscollectibles.com/mike_smith_autographed_signed_arrogate_canvas_giclee_

  horse_racing_psa_dna_breeders_cup_hof_c_p28844976.htm) in connection with a “Mike Smith

  Autographed Signed Arrogate Canvas Giclee Horse Racing PSA/DNA Breeders Cup HOF” that

  Sports Mall was attempting to sell for $944.19:




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Case 8:24-cv-01341-KKM-LSG            Document 1         Filed 06/03/24         Page 14 of 22 PageID 14




         36.   On a date after Plaintiff’s above-referenced copyright registration of the Third

  Photograph, Defendants also displayed and/or published a giclée derivative copy of the Third

  Photograph             on              Sports                Mall’s                  website    (at

  https://www.sportscollectibles.com/mike_smith_autographed_signed_arrogate_canvas_giclee_

  horse_racing_psa_dna_breeders_cup_c_p28354511.htm) in connection with a “Mike Smith

  Autographed Signed Arrogate Canvas Giclee Horse Racing PSA/DNA Breeders Cup” that Sports

  Mall was attempting to sell for $1,504.19:




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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 15 of 22 PageID 15




         37.    In each of the above instances of Defendants’ display and/or publication of the

  Third Photograph, the image being displayed on Sports Mall’s website was ‘hotlinked’ from the

  website (e.g., www.ebay.com) that was hosting the item for sale. Thus, while visitors to Sports

  Mall’s website would see the image displayed thereon, the image was itself still hosted/stored on

  the website/server on which the owner of the memorabilia was being sold (e.g., www.ebay.com).

         38.    In each of the above instances of Defendants’ display and/or publication of the

  Third Photograph, Defendants did not own the memorabilia being offered for sale, were not in

  possession of the memorabilia being offered for sale, and did not have permission from the owner

  of the memorabilia being offered for sale to list such for sale on Sports Mall’s website.

         39.    On a date after Plaintiff’s above-referenced copyright registration of the Fourth

  Photograph, Defendants displayed and/or published a giclée derivative copy of the Fourth
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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 16 of 22 PageID 16




  Photograph              on              Sports                Mall’s                  website    (at

  https://www.sportscollectibles.com/victor_espinoza_autographed_signed_california_chrome_ca

  nvas_giclee_horse_racing_psa_dna_c_p20543477.htm) in connection with a “Victor Espinoza

  Autographed Signed California Chrome Canvas Giclee Horse Racing PSA/DNA” that Sports

  Mall was attempting to sell for $729.99:




         40.    In the above instance of Defendants’ display and/or publication of the Fourth

  Photograph, the image being displayed on Sports Mall’s website was ‘hotlinked’ from the website

  (e.g., www.ebay.com) that was hosting the item for sale. Thus, while visitors to Sports Mall’s

  website would see the image displayed thereon, the image was itself still hosted/stored on the

  website/server on which the owner of the memorabilia was being sold (e.g., www.ebay.com).

         41.    In the above instance of Defendants’ display and/or publication of the Fourth

  Photograph, Defendants did not own the memorabilia being offered for sale, were not in

  possession of the memorabilia being offered for sale, and did not have permission from the owner

  of the memorabilia being offered for sale to list such for sale on Sports Mall’s website.
                                                     16
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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 17 of 22 PageID 17




         42.    A true and correct copy of screenshots of Sports Mall’s website, displaying the

  copyrighted Work, is attached hereto as Exhibit “E.”

         43.    Defendants are not and have never been licensed to use or display the Work.

  Defendants never contacted Plaintiff to seek permission to use the Work in connection with its

  website or for any other purpose.

         44.    Defendants utilized the Work for commercial use – namely, in connection with the

  sale of autographed sports memorabilia.

         45.    Upon information and belief, Defendants located a copy of the Work on the internet

  and, rather than contact Plaintiff to secure a license, simply copied the Work for their own

  commercial use.

         46.    Through his ongoing diligent efforts to identify unauthorized use of his

  photographs, Plaintiff first discovered Defendants’ unauthorized use/display of the First

  Photograph and Second Photograph in February 2022, and discovered Defendants’ unauthorized

  use/display of the Third Photograph and Fourth Photograph in February 2023.

         47.    All conditions precedent to this action have been performed or have been waived.

                         COUNT I – COPYRIGHT INFRINGEMENT

         48.    Plaintiff re-alleges and incorporates paragraphs 1 through 47 as set forth above.

         49.    Each photograph comprising the Work is an original work of authorship,

  embodying copyrightable subject matter, that is subject to the full protection of the United States

  copyright laws (17 U.S.C. § 101 et seq.).

         50.    Plaintiff owns a valid copyright in each photograph comprising the Work, having

  registered the Work with the Register of Copyrights.

         51.    As a result of Plaintiff’s reproduction, distribution, and public display of the Work,


                                                     17
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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 18 of 22 PageID 18




  Defendants had access to the Work prior to their own reproduction, distribution, and public

  display of the Work on Sports Mall’s website.

         52.    Defendants reproduced, distributed, and publicly displayed the Work without

  authorization from Plaintiff.

         53.    By their actions, Defendants infringed and violated Plaintiff’s exclusive rights in

  violation of the Copyright Act, 17 U.S.C. § 501. Defendants’ infringement was either direct,

  vicarious, and/or contributory.

         54.    Defendants’ infringement was willful as they acted with actual knowledge or

  reckless disregard for whether their conduct infringed upon Plaintiff’s copyright. Notably, each

  of Sports Mall and Nittany Web itself has a copyright disclaimer on its website (“© 2024 Sports

  Collectibles” and “©1999- 2024 Nittany Web Works”), indicating that Defendants understand

  the importance of copyright protection and intellectual property rights and are actually

  representing that they own each of the photographs published on their respective websites. See,

  e.g., Bell v. ROI Prop. Grp. Mgmt., LLC, No. 1:18-cv-00043-TWP-DLP, 2018 U.S. Dist. LEXIS

  127717, at *3 (S.D. Ind. July 31, 2018) (“[T]he willfulness of ROI’s infringement is evidenced

  by the fact that at the bottom of the webpage on which the Indianapolis photograph was

  unlawfully published appeared the following: ‘Copyright © 2017.’ By placing a copyright mark

  at the bottom of its webpage that contained Mr. Bell’s copyrighted Indianapolis Photograph, Mr.

  Bell asserts ROI willfully infringed his copyright by claiming that it owned the copyright to

  everything on the webpage.”); John Perez Graphics & Design, LLC v. Green Tree Inv. Grp., Inc.,

  Civil Action No. 3:12-cv-4194-M, 2013 U.S. Dist. LEXIS 61928, at *12-13 (N.D. Tex. May 1,

  2013) (“Once on Defendant’s website, Defendant asserted ownership of Plaintiff's Registered

  Work by including a copyright notice at the bottom of the page. Based on these allegations, the


                                                     18
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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 19 of 22 PageID 19




  Court finds Plaintiff has sufficiently pled a willful violation….”). Defendants clearly understand

  that professional photography is not generally available for free or that such can simply be copied

  from the internet.

         55.    Sports Mall’s willfulness is further demonstrated by the fact that Sports Mall

  received multiple infringement notices and was sued multiple times for copyright infringement

  prior to Plaintiff’s discovery of the infringements at issue herein, yet Sports Mall has not

  implemented any policies or procedures to avoid infringement and has not materially altered its

  business practices to attempt to confirm that the products it sells are not protected by copyright.

  See, e.g. Fabric Selection, Inc. v. NNW Imp., Inc., No. 2:16-cv-08558-CAS(MRWx), 2018 U.S.

  Dist. LEXIS 62334, at *29 (C.D. Cal. Apr. 11, 2018) (“[R]ecklessness or willful blindness is

  typically demonstrated by past practices of infringing other works, or when a defendant ignores

  a warning letter sent by plaintiff's counsel.”) (citing Nimmer on Copyright § 14.04[B][3][a], at

  14-94-14-95); Design Basics, LLC v. Drexel Bldg. Supply, Inc., No. 13-C-560, 2016 U.S. Dist.

  LEXIS 137713, at *17-18 (E.D. Wis. Oct. 4, 2016) (“If offered for the limited purpose of

  establishing willfulness, on the other hand, all that need be shown is that the Defendants have

  previously faced copyright infringement accusations. That is, the merit and truth of those

  accusations is less relevant than the fact that they were made at all. It is the accusation, combined

  with the settlement, that arguably placed the Defendants on notice that their actions were causing

  others to call their conduct into question—regardless of the merit of those questions.”); N.A.S.

  Imp., Corp. v. Chenson Enters., 968 F.2d 250, 252 (2d Cir. 1992) (“We have held that for the

  purpose of awarding enhanced statutory damages under § 504(c)(2), an infringement is willful if

  the defendant had knowledge that its actions constitute an infringement. This knowledge may be

  actual or constructive. In other words, it need not be proven directly but may be inferred from the


                                                     19
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Case 8:24-cv-01341-KKM-LSG              Document 1         Filed 06/03/24         Page 20 of 22 PageID 20




  defendant's conduct.”) (internal citations and quotation marks omitted); 4 Nimmer on Copyright

  § 14.04[B][3] (“[O]ne who ‘recklessly disregards’ a copyright holder’s rights, even if lacking

  actual knowledge of infringement, may be subject to enhanced damages. That reckless disregard

  can be inferred from a past practice of infringing other works or from other circumstances—a

  good example being that the defendant has defaulted.”); Yash Raj Films (USA) Inc. v. Rannade

  Corp., No. CIVIL: 01 CV 5779 (JCL), 2007 U.S. Dist. LEXIS 36086, at *28 (D.N.J. May 17,

  2007) (“Defendants having been sued in other copyright infringement cases and Defendants' past

  practice of infringing other works is another basis for finding Defendants' infringement to

  be willful.”); Swallow Turn Music v. Wilson, 831 F. Supp. 575, 580 (E.D. Tex. 1993) (“It can be

  said that there are two kinds of willfulness: (1) knowing that a particular performance is

  a copyright infringement, and (2) knowing that the normal course of business involves a pattern

  of repeated copyright infringements. Should the latter situation occur, then ‘willfulness’ proven

  as to the course of business will suffice for "willfulness" for any particular occurrence

  of copyright infringement. A proprieter who has been repeatedly warned that a course of conduct

  violates the law should take responsibility in seeing that it does not happen again.”).

         56.      These prior lawsuits include: (a) Kevorkian v. The Sports Mall, LLC, Case No.,

  2:21-cv-02747 (C.D. Cali.); Krikor et al. v. The Sports Mall, LLC, Case No. 2:22-cv-05600 (C.D.

  Cali.); Boehm v. The Sports Mall, LLC, Case No. 1:21-cv-21977 (S.D. Fla.); and Eclipse

  Sportswire v. The Sports Mall, LLC, Case No. 8:20-cv-01433 (M.D. Fla.).

         57.      Plaintiff has been damaged as a direct and proximate result of Defendants’

  infringement.

         58.      Plaintiff is entitled to recover his actual damages resulting from Defendants’

  unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b)),


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Case 8:24-cv-01341-KKM-LSG             Document 1         Filed 06/03/24         Page 21 of 22 PageID 21




  Plaintiff is entitled to recover damages based on a disgorgement of Defendants’ profits from

  infringement of the Work, which amounts shall be proven at trial.

         59.    Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

  pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

         60.    Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover his costs and

  attorneys’ fees as a result of Defendant’s conduct.

         61.    Defendants’ conduct has caused and any continued infringing conduct will continue

  to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no adequate

  remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

  prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

    a. A declaration that Defendants have infringed Plaintiff’s copyrights in the Work;

    b. A declaration that such infringement is willful;

    c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

        Plaintiff’s election, an award of statutory damages for willful infringement up to

        $150,000.00 for each photograph comprising the Work;

    d. Awarding Plaintiff his costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

    e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

    f. Permanently enjoining Defendants, their employees, agents, officers, directors, attorneys,

        successors, affiliates, subsidiaries and assigns, and all those in active concert and

        participation with Defendants, from directly or indirectly infringing Plaintiff’s copyrights

        or continuing to display, transfer, advertise, reproduce, or otherwise market any works

        derived or copied from the Work or to participate or assist in any such activity; and


                                                     21
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    g. For such other relief as the Court deems just and proper.

                                             Demand For Jury Trial

 Plaintiff demands a trial by jury on all issued so triable.

  Dated: June 3, 2024.                                COPYCAT LEGAL PLLC
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                                                      22
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